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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 19-CV-61738-WPD

 SECURITIES AND EXCHANGE COMMISSION,                         )
                                                             )
                               Plaintiff,                    )
                                                             )
 v.                                                          )
                                                             )
 HENRY J. WIENIEWITZ, III, et al.                            )
                                                             )
                               Defendant.                    )
                                                             )
 ____________________________________________________________)

              JUDGMENT AS TO DEFENDANT HENRY J. WIENIEWITZ, III

        The Securities and Exchange Commission having filed a Complaint and Defendant Henry

 J. Wieniewitz, III (“Defendant” or “Wieniewitz”) having entered a general appearance; consented

 to the Court’s jurisdiction over Defendant and the subject matter of this action; consented to entry

 of this Judgment without admitting or denying the allegations of the Complaint (except as to

 jurisdiction and except as otherwise provided herein in paragraph IV); waived findings of fact and

 conclusions of law; and waived any right to appeal from this Judgment:

                                                  I.

                             PERMANENT INJUNCTIVE RELIEF

                                                A.
                    Section 5 of the Securities Act of 1933 (“Securities Act”)


        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

 permanently restrained and enjoined from violating Section 5 of the Securities Act [15 U.S.C. §

 77e] by, directly or indirectly, in the absence of any applicable exemption:

        (a)     Unless a registration statement is in effect as to a security, making use of any means


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                or instruments of transportation or communication in interstate commerce or of the

                mails to sell such security through the use or medium of any prospectus or

                otherwise;

        (b)     Unless a registration statement is in effect as to a security, carrying or causing to

                be carried through the mails or in interstate commerce, by any means or instruments

                of transportation, any such security for the purpose of sale or for delivery after sale;

                or

        (c)     Making use of any means or instruments of transportation or communication in

                interstate commerce or of the mails to offer to sell or offer to buy through the use

                or medium of any prospectus or otherwise any security, unless a registration

                statement has been filed with the Commission as to such security, or while the

                registration statement is the subject of a refusal order or stop order or (prior to the

                effective date of the registration statement) any public proceeding or examination

                under Section 8 of the Securities Act [15 U.S.C. § 77h].

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

 receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

 agents, servants, employees, and attorneys; and (b) other persons in active concert or participation

 with Defendant or with anyone described in (a).




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                                                  B.

           Section 15(a)(1) of the Securities Exchange Act of 1934 (“Exchange Act”)

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

 Defendant is permanently restrained and enjoined from violating, directly or indirectly, Section

 15(a)(1) of the Exchange Act [15 U.S.C. § 78o(a)(1)] by making use of any means or

 instrumentality of interstate commerce or of the mails and engaging in the business of effecting

 transactions in securities for the accounts of others, or inducing or effecting the purchase and sale

 of securities, while not registered with the Commission in accordance with the provisions of

 Section 15(b) of the Exchange Act, or while not associated with a broker-dealer that was so

 registered.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

 receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

 agents, servants, employees, and attorneys; and (b) other persons in active concert or participation

 with Defendant or with anyone described in (a).

                                                  II.

         DISGORGEMENT, PREJUDGMENT INTEREST AND CIVIL PENALTY

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

 Defendant shall pay disgorgement of ill-gotten gains, prejudgment interest thereon jointly and

 severally with Wieniewitz Financial, LLC, and a civil penalty pursuant to Section 20(d) of the

 Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. §

 78u(d)(3)]. The Court shall determine the amounts of the disgorgement and civil penalty upon

 motion of the Commission. Prejudgment interest shall be calculated from July 10, 2018, based on



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 the rate of interest used by the Internal Revenue Service for the underpayment of federal income

 tax as set forth in 26 U.S.C. § 6621(a)(2). In connection with the Commission’s motion for

 disgorgement and/or civil penalties, and at any hearing held on such a motion: (a) Defendant will

 be precluded from arguing that he did not violate the federal securities laws as alleged in the

 Complaint; (b) Defendant may not challenge the validity of the Consent or this Judgment; (c)

 solely for the purposes of such motion, the allegations of the Complaint shall be accepted as and

 deemed true by the Court; and (d) the Court may determine the issues raised in the motion on the

 basis of affidavits, declarations, excerpts of sworn deposition or investigative testimony, and

 documentary evidence, without regard to the standards for summary judgment contained in Rule

 56(c) of the Federal Rules of Civil Procedure. In connection with the Commission’s motion for

 disgorgement and/or civil penalties, the parties may take discovery, including discovery from

 appropriate non-parties.

                                                III.

                               INCORPORATION OF CONSENT

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

 incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

 shall comply with all of the undertakings and agreements set forth therein.

                                                IV.

                            BANKRUPTCY NONDISCHARGEABILITY

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes

 of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

 allegations in the complaint are true and admitted by Defendant, and further, any debt for

 disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this



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 Judgment or any other judgment, order, consent order, decree or settlement agreement entered in

 connection with this proceeding, is a debt for the violation by Defendant of the federal securities

 laws or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the

 Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                                  V.

                               RETENTION OF JURISDICTION

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall

 retain jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.

                                                 VI.

                                 RULE 54(b) CERTIFICATION

        There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

 Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.

        DONE and ORDERED in Chambers, Fort Lauderdale, Broward County, Florida, this

 15th day of July, 2019.




 Copies to:

 Counsel of record




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